        Case 3:23-cv-00405-LAB-KSC Document 14 Filed 05/10/23 PageID.90 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Southern District
                                            __________  DistrictofofCalifornia
                                                                     __________


                                                               )
                             Plaintiff                         )
                                v.                             )      Case No.
                                                               )
                            Defendant                          )

                                                  APPEARANCE OF COUNSEL

To:                                          The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                                                                                                      .


Date:
                                                                                         Attorney’s signature



                                                                                     Printed name and bar number




                                                                                                Address



                                                                                             E-mail address



                                                                                            Telephone number



                                                                                              FAX number
